Case 2:22-cv-00184-LCB-CWB Document 560-31 Filed 05/27/24 Page 1 of 86




            EXHIBIT 181
            REDACTED
Case 2:22-cv-00184-LCB-CWB Document 560-31 Filed 05/27/24 Page 2 of 86




                                  1
Case 2:22-cv-00184-LCB-CWB Document 560-31 Filed 05/27/24 Page 3 of 86




                                  2
Case 2:22-cv-00184-LCB-CWB Document 560-31 Filed 05/27/24 Page 4 of 86




                                  3
Case 2:22-cv-00184-LCB-CWB Document 560-31 Filed 05/27/24 Page 5 of 86




                                  4
Case 2:22-cv-00184-LCB-CWB Document 560-31 Filed 05/27/24 Page 6 of 86




                                  5
Case 2:22-cv-00184-LCB-CWB Document 560-31 Filed 05/27/24 Page 7 of 86




                                  6
Case 2:22-cv-00184-LCB-CWB Document 560-31 Filed 05/27/24 Page 8 of 86




                                  7
Case 2:22-cv-00184-LCB-CWB Document 560-31 Filed 05/27/24 Page 9 of 86




                                  8
Case 2:22-cv-00184-LCB-CWB Document 560-31 Filed 05/27/24 Page 10 of 86




                                  9
Case 2:22-cv-00184-LCB-CWB Document 560-31 Filed 05/27/24 Page 11 of 86




                                  10
Case 2:22-cv-00184-LCB-CWB Document 560-31 Filed 05/27/24 Page 12 of 86




                                  11
Case 2:22-cv-00184-LCB-CWB Document 560-31 Filed 05/27/24 Page 13 of 86




                                                                          8034
                                  12
Case 2:22-cv-00184-LCB-CWB Document 560-31 Filed 05/27/24 Page 14 of 86




                                  13
Case 2:22-cv-00184-LCB-CWB Document 560-31 Filed 05/27/24 Page 15 of 86




                                  14
Case 2:22-cv-00184-LCB-CWB Document 560-31 Filed 05/27/24 Page 16 of 86




                                  15
Case 2:22-cv-00184-LCB-CWB Document 560-31 Filed 05/27/24 Page 17 of 86




                                  16
Case 2:22-cv-00184-LCB-CWB Document 560-31 Filed 05/27/24 Page 18 of 86




                                  17
Case 2:22-cv-00184-LCB-CWB Document 560-31 Filed 05/27/24 Page 19 of 86




                                  18
Case 2:22-cv-00184-LCB-CWB Document 560-31 Filed 05/27/24 Page 20 of 86




                                  19
Case 2:22-cv-00184-LCB-CWB Document 560-31 Filed 05/27/24 Page 21 of 86




                                  20
         Case 2:22-cv-00184-LCB-CWB Document 560-31 Filed 05/27/24 Page 22 of 86




           Re: Medical Necessity Statement version4 - please respond
           by Monday 2 May
           From:
           To:
           Cc:



           Date:             Mon, 02 May 2022 08:08:58 -0400
           Attachments:      02.05.22 Medical necessity statement SOC8 plus text vs6                         docx
                             (37.64 kB); 02.05.22 Medical necessity statement SOC8 plus text vs6
                                   clean copy.docx (28.13 kB)

           Hi

           Thanks         or all your hard work and comments, which were very helpful and constructive, and
           sorry for the confusion about the other document.

           Please find attached 2 copies of the Statement with our texts so far: one with the tracker
           changes/comments and one Clean Copy.

           I think it has significantly improved, and I personally feel this Delphi Statement caters for the needs of
           all TGD people globally, and certainly includes all TGD peoples (medical) needs (in the broadest
           sense).

           I have added further references from the Global South and Middle East to strengthen our position.
           Thanks

           However, if you feel we have missed anything, please provide some more (do-able and constructive)
           suggestions.

           In terms of its position, please let us know       vhether you are happy to position this Delphi
           statement plus its text within the Global Applicability Chapter.    Alternatively, it could be placed in the
           Introduction (which does not have my preference), but - as an alternative - we could have a
           "Prologue" after the Introduction with this Statement plus text only, before the Chapters start; and it
           would be unlikely that readers will miss this. Just a thought    I guess it's for the Chair and Co-Chairs
           to decide, but I am interested to hear what                                    think.

           With warmest wishes, and looking forward to hearing from you soon,




CONFIDENTIAL — SUBJECT TO PROTECTIVE ORDER                                                                 BOEAL_WPATH_062011
                                                                21
         Case 2:22-cv-00184-LCB-CWB Document 560-31 Filed 05/27/24 Page 23 of 86




           On 2022-05-02 12:24,              wrote:

            Good to clear up the confusion

            I wonder whether the concerns             had earlier expressed rested on that confusion
            too.

            Best




            From:
            Sent: Monday, May 2, 2022 18:58
            To:




CONFIDENTIAL - SUBJECT TO PROTECTIVE ORDER                                                    BOEAL_WPATH_062012
                                                      22
         Case 2:22-cv-00184-LCB-CWB Document 560-31 Filed 05/27/24 Page 24 of 86




            Cc:
            Subject: Re: Medical Necessity Statement version4 - please respond by Monday 2 May

            Doesn't take long to confuse me...That is great!        s working on this as he is leading it. Thanks
            a lot




            From:
            Sent: Monday, May 2, 2022 11:53:32 AM
            To:

            Cc:


            Subject: Re: Medical Necessity Statement version4 - please respond by Monday 2 May

            Hi there

            I think you are confused.

            Perhaps others are confused too.

            The document to which I think you refer you refer M(FILENAME               suggestions re
            statements on broadening healthcare and UHC' does include two statements). But please bear in
            mind it is the document I sent out back in JANUARY putting the case for a reference to Universal
            Healthcare, and suggesting the sort of text that could be included in the SOC. I sent it today
            simply to remind people what were my arguments back then. It seemed relevant to do SO
            because I made brief reference to it in my comments on the SOC-8 medical
            necessity draft.

            As for the medical necessity draft that we have before us, I earlier today sent all here my
            suggested edits, building on              version (.. ..as you requested on 30th Apr 1.41
            by my laptop's timing).

            I enclose again my suggested edits for the medical necessity draft..

            Again, I would like to know in what way any of those suggested edits reduce the relevance to
            US concerns.




CONFIDENTIAL - SUBJECT TO PROTECTIVE ORDER                                                             BOEAL_WPATH_062013
                                                               23
         Case 2:22-cv-00184-LCB-CWB Document 560-31 Filed 05/27/24 Page 25 of 86




            From:
            Sent: Monda , Ma 2, 2022 18:29
            To:
            Cc:
            Subject: RE: Medical Necessity Statement version4 - please respond by Monday 2 May

            Dear-
            Thanks for this. This looks like a different document to the one we sent you and it has a new
            recommendation that has not            through delphi 1,..hich we cant have. Can you please add your
            changes in the document           ent last (which I include wit             suggestions) using tracker
            change, please and send it back to us,
            Th. s




CONFIDENTIAL - SUBJECT TO PROTECTIVE ORDER                                                                BOEAL_WPATH_062014
                                                               24
         Case 2:22-cv-00184-LCB-CWB Document 560-31 Filed 05/27/24 Page 26 of 86




            From:
            Sent: 01 May 2022 21:34
            To:



            Subject: Re: Medical Necessity Statement version4 - please respond by Monday 2 May

            Hi there

            In that draft I just sent, one of my comments refers to the document I sent some
            time back (actually, I now see I sent it back on the 8th January) on universal
            healthcare. So here it is, for information only (just in case any of you wants to be
            reminded about what I was going on about way back then)

            OK, really, goodnight.




            From:
            Sent: Saturday, April 30, 2022 3:04
            To:




CONFIDENTIAL - SUBJECT TO PROTECTIVE ORDER                                                       BOEAL_WPATH_062015
                                                         25
         Case 2:22-cv-00184-LCB-CWB Document 560-31 Filed 05/27/24 Page 27 of 86




            Cc:

            Subject: Re: Medical Necessity Statement version4 - please respond by Monday 2 May

            Dear
            thank you - that is most helpful.
            wi h w rm wi h




            On 2022-04-29 18:41                  rote:
             Great work!
             I have attached the document with some edits-- I got rid of the two references to Branstrom, given
             the published correction, and added a few other references used to support medical necessity.
             Also, I changed 302.85 to F64.0-- this is the updated DSM-5/DSM-5TR billing code linked to ICD-
             10CM in the US.




             CONFIDENTIALITY NOTICE:
             The contents of this email message and any attachments are intended solely for the addressee(s)
             and may contain confidential and/or privileged information and may be legally protected from
             disclosure. If you are not the intended recipient of this message or their agent, or if this message
             has been addressed to you in error, please immediately alert the sender by reply email and then
             delete this message and any attachments. If you are not the intended recipient, you are hereby
             notified that any use, dissemination, copying, or storage of this message or its attachments is
             strictly prohibited.


             On Fri, Apr 29, 2022 at 10:10 AM                                               wrote:




CONFIDENTIAL — SUBJECT TO PROTECTIVE ORDER                                                              BOEAL_WPATH_062016
                                                             26
         Case 2:22-cv-00184-LCB-CWB Document 560-31 Filed 05/27/24 Page 28 of 86




                  Thank you

                  Best
              t
                  On Fri, Apr 29, 2022 at 9:54 AM                                                  rote:

                    that is a very good point...I have change it




                    From
                    Sent: 29 A • ril 2022 17:51
                    To
                    Cc



                    Subject: Re: Medical Necessity Statement version4 - please respond by Monday 2 May

                    Thank you,                   I also very much like this statement and the supporting write-up.
                    There is one word, though, in the middle (on the right side of the page) of the last paragraph
                    on the first page of the document: "wishing." This word gives me pause, and perhaps I am
                    being too sensitive, but one of the biggest obstacles trans people experience in getting
                    support for coverage of our care is that we are told "you can't always get what you want" and
                    "wishing does not make it so." Wishing makes the needed care seem optional, and we are
                    often told we are imagining that we are not who we are and we should just suck it up.

                    Would it be possible or advisable or prudent to replace "wishing" with "in need of" here?

                    Thanks for your consideration, and for your great work on this.

                    Best,


                    On Fri, Apr 29, 2022 at 9:06 AM                                                   wrote:

                         Thanks
                         -
                         I think the statement reads very well. I have no edits

                         Thank you very much




CONFIDENTIAL — SUBJECT TO PROTECTIVE ORDER                                                                 BOEAL_WPATH_062017
                                                                   27
         Case 2:22-cv-00184-LCB-CWB Document 560-31 Filed 05/27/24 Page 29 of 86




                   Sent from my iPhone



                    On Apr 29, 2022, at 11:01 AM,                                                    rote:

                    Dear all

                    This is new version of the medical necessity statement and it has been approved by the
                    chairs so please send any comments of this version to me.

                    As per        email, if we don't heard anything by the 2nd of May we will presume that
                    you are happy with this version.

                   =We         would like this statement to go in the Global chapter, would that be OK with
                    you? In your view, should this recommendation be the 1st, 2nd, 3rd, 4th of 5th in your
                    chapter? do let us know

                    kind regards




                    From
                    Sent: 29 April 2022 11:49
                    To:
                    Cc:



                    Subject: Re: Medical Necessity Statement version4 - please respond by Monday 2 May

                    Dear
                    Please in a ac e        e Medical Necessity Statement, which passed Delphi together
                    with text for the SOC8. I feel we are nearly there!
                    I have copied                                  into this email, as they have been involved
                    with the writin of the text reviously.
                                                      would you be so kind as to have a read-through and
                    respond with any edit suggestions before Monday 2 May please, so that we can finalise
                    this part of the SOC8 swiftly? Cheers!!




CONFIDENTIAL — SUBJECT TO PROTECTIVE ORDER                                                           BOEAL_WPATH_062018
                                                           28
         Case 2:22-cv-00184-LCB-CWB Document 560-31 Filed 05/27/24 Page 30 of 86




                     1.1.   "    9I -         I II   I        9




                    On 2022-04-25 03:54,                 wrote:

                     I am still not sure we have the finalized explication of the Delphi approved statement for
                     our Introduction.

                     Please advise.



                     On Thu, Mar 24, 2022 at 9:44 AM                                                    wrote:




                       From:
                       Sent: 07 January 2022 14:26
                       To:
                       Cc:



                       Subject: Re: 07.01.22 Medical Necessity Statement version3

                       Hi                and all




CONFIDENTIAL — SUBJECT TO PROTECTIVE ORDER                                                           BOEAL_WPATH_062019
                                                           29
         Case 2:22-cv-00184-LCB-CWB Document 560-31 Filed 05/27/24 Page 31 of 86




                      Please find attached the third draft now with suggestions on the side. I have
                      "merged" the previous documents together.
                      Feel free to insert= Statement at the top as a reminder that this is the Statement
                      that has to go through Delphi.

                      e         would you mind having a look at it again when you have time, based on
                              xcellent comments please?
                               in from there on; and=will look at it again tomorrow morning (thanks

                      Its going to be a great Statement.




                      On 2022-01-07 14:08,                 wrote:

                       Hi there everyone.

                       We recommend that health care systems should provide medically necessary
                       ae                                            -elical treatments for trans and
                       cienaer aiverse cniiaren, aaoiescems ana aaults.


                       I think this statement would get universal support. A few thoughts.

                       -1 / I would suggest we use the word 'healthcare' rather than 'treatments' (Is it just
                       me, or does treatment imply pathology? I wonder if, under normal circumstances,
                       we would speak of treatment for pregnancy - rather perhaps we would speak of
                       healthcare).

                       2/ The proposed wording refers to children, but the Medical Necessity Statement
                       does not appear to.(am I right on this?)

                       -3 / Following on from what I have suggested in my comments in the Medical
                       Necessity Statement (see earlier attachment), I woould suggest the following.


                       We recommend that health care systems should provide medically necessary
                       cm-                                                                  'as and
                       Cif
                       Si        .ALLY BE PROvIDED WITHIN UNIVERSAL HEALTHCARE
                       COvtRAGE.




CONFIDENTIAL - SUBJECT TO PROTECTIVE ORDER                                                           BOEAL_WPATH_062020
                                                           30
         Case 2:22-cv-00184-LCB-CWB Document 560-31 Filed 05/27/24 Page 32 of 86




                       T- hanks again for letting me participate in this part of the SOC. It's getting late here
                       and so I will soon have to switch off my computer. Will open up computer tomorrow
                       morning.




                       From:
                       Sent: Friday, January 7, 2022 21:19
                       To:
                       Cc:
                       Subject: Re: Medical Necessity Statement version2

                       -Dear all
                       Thank you waiter for putting this together and to all of you to contribute into this.

                       T- his will be a brilliant text that will be accompanying the statement of the
                       recommendation.

                       W- e had a meeting yesterday with the chairs and decide that we need to create a
                       recommendation for medical necessity that goes through delphi and is approved by
                       everyone. It is then in the SOC-8 as a recommendation, possible in the introduction
                       as the first recommendation.

                       So far what we have this


                       We recommend that health care systems should provide medically necessary
                              -"'           "                    —Jrciical treatments for trans and
                        ender diverse children adolescents and adults.


                       (questions do we need to say (as recommended by SOC8?)

                       please feel free to modify this and change it or come with some other suggestions.

                       Res ards




CONFIDENTIAL - SUBJECT TO PROTECTIVE ORDER                                                              BOEAL_WPATH_062021
                                                          31
         Case 2:22-cv-00184-LCB-CWB Document 560-31 Filed 05/27/24 Page 33 of 86




                       From:
                       Date: Friday, 7 January 2022 at 13:04
                       To
                       Cc


                       Subject: Re: Medical Necessity Statement version2

                       Dear
                       Thank you so much for that. I have accepted all your edits and added your
                       suggestions about counselling for children and
                       their parents/legal guardians/care takers.... and some spacing between the
                       references, although that would be made more
                       clear in the publication in IJTH anyway. See latest version attached.

                             would you be so kind as to have a look at this and see whether anything
                       essential is missing? And whether this
                       Statement is "global enough" please?
                       Once we hear your feedback, perhaps we can move to approve (and publish)?
                       \A armest .




                       Error! Filename not specified.Error! Filename not specified.Error!
                       Filename not specified.Error! Filename not specified.

                       On 2022-01-06 23:01,                    wrote:
                        Dear

                        Thank you for putting this together; you've done a great job with this. Indeed, it is
                        important that such a statement is part of the actual SOC. And, indeed, the
                        original Medical Necessity Statement was specific to the US because this was
                        where we were experiencing the problem with our obtuse and unhealthy system




CONFIDENTIAL — SUBJECT TO PROTECTIVE ORDER                                                          BOEAL_WPATH_062022
                                                        32
         Case 2:22-cv-00184-LCB-CWB Document 560-31 Filed 05/27/24 Page 34 of 86




                        of healthcare "coverage" and we needed a tool for our attorneys to use in
                        defending access to care here. I have long wanted this (and many of our other
                        policy statements) to become part of the SOC because that gives them greater
                        force. I am very happy to see the medical necessity statement expanded to a
                        more global context, which the ICD-11 has made possible.

                        I have made a few typographical changes in the attached file (very minor). But I
                        am wondering whether we should include something about the medical necessity
                        of coverage for counseling for pre-adolescents (or for their parents/guardians)?
                        Also, it would be good if the reference list had better spacing for readability, but I
                        figure that will happen in the publication phase.

                        Thank you,


                        On Thu, Jan 6, 2022 at 7:24 AM
                                                            wrote:
                          Dea
                          I am aware that the existing Medical Necessity Statement on the WPATH
                          website is rather US-centric, and also qua language not up-to-date. I guess we
                          all agree that such a statement is helpful to include in the forthcoming SOC8.
                          Hence, I had a first stab at re-drafting a Medical Necessity Statement for this
                          purpose based on a version ofd          and the 2016 statement on the WPATH
                          website.
                          Would you be interested in helping make a final draft, which we can then run
                          past the Board of Directors and SOC8 Chair and Co-Chairs please (and
                          whoever else we think can contribute)?
                          I am not particularly precious about my writing, so please add/delete/change as
                          you see fit (rather than only make comments); let's get this done ASAP.
                          Once everybody is happy with it, I can publish it in IJTH - that should take no
                          longer than 1 week, and those who have contributed can put their name on it,
                          and it will then also be on behalf of WPATH, USPATH, EPATH, and
                          AsiaPATH.
                          To make the rocess - at least initial) - fair) efficient and uick I have onl
                          written to you and copied                                    nd the EC in), and
                          once we get a first proper draft (hopefully within a few days), we can send it
                          around for comments and edits.
                          What do you think?
                          Are you in?
                          Warmest.




CONFIDENTIAL — SUBJECT TO PROTECTIVE ORDER                                                          BOEAL_WPATH_062023
                                                         33
         Case 2:22-cv-00184-LCB-CWB Document 560-31 Filed 05/27/24 Page 35 of 86




                             E-mail:
                             Error! Filename not specified.Error! Filename not
                             specified.Error! Filename not specified.Error! Filename not
                             specified.
                         This message and any attachment are intended solely for the addressee
                         and may contain confidential information. If you have received this
                         message in error, please contact the sender and delete the email and
                         attachment.

                         Any views or opinions expressed by the author of this email do not
                         necessarily reflect the views of the University of Nottingham. Email
                         communications with the University of Nottingham may be monitored
                         where permitted by law.




                        This message and any attachment are intended solely for the addressee
                        and may contain confidential information. If you have received this
                        message in error, please contact the sender and delete the email and
                        attachment.

                        Any views or opinions expressed by the author of this email do not
                        necessarily reflect the views of the University of Nottingham. Email
                        communications with the University of Nottingham may be monitored
                        where permitted by law.




                    This message and any attachment are intended solely for the addressee
                    and may contain confidential information. If you have received this
                    message in error, please contact the sender and delete the email and
                    attachment.

                    Any views or opinions expressed by the author of this email do not
                    necessarily reflect the views of the University of Nottingham. Email
                    communications with the University of Nottingham may be monitored




CONFIDENTIAL — SUBJECT TO PROTECTIVE ORDER                                                       BOEAL_WPATH_062024
                                                         34
         Case 2:22-cv-00184-LCB-CWB Document 560-31 Filed 05/27/24 Page 36 of 86




                     where permitted by law.




                 This message and any attachment are intended solely for the addressee
                 and may contain confidential information. If you have received this
                 message in error, please contact the sender and delete the email and
                 attachment.

                 Any views or opinions expressed by the author of this email do not
                 necessarily reflect the views of the University of Nottingham. Email
                 communications with the University of Nottingham may be monitored
                 where permitted by law.




            This message and any attachment are intended solely for the addressee
            and may contain confidential information. If you have received this
            message in error, please contact the sender and delete the email and
            attachment.

            Any views or opinions expressed by the author of this email do not
            necessarily reflect the views of the University of Nottingham. Email
            communications with the University of Nottingham may be monitored
            where permitted by law.




            This message and any attachment are intended solely for the addressee
            and may contain confidential information. If you have received this
            message in error, please contact the sender and delete the email and
            attachment.

            Any views or opinions expressed by the author of this email do not
            necessarily reflect the views of the University of Nottingham. Email
            communications with the University of Nottingham may be monitored
            where permitted by law.




CONFIDENTIAL - SUBJECT TO PROTECTIVE ORDER                                               BOEAL_WPATH_062025
                                                          35
           Case 2:22-cv-00184-LCB-CWB Document 560-31 Filed 05/27/24 Page 37 of 86




           SOC8 Medical Necessity of Treatment for Transgender and Gender Diverse People
                                       (location in SOC8: to be decided)


       Statement


       We recommend that health care systems should provide medically necessary gender
                                                                                                                 Commented IA1            Ilium. i wonder. I feel this
       affirming healthcare for transgender and gender diverse people (Delphi statement)                         could he misinterpreted in a rather (gender)
                                                                                                                 pathologising way. I guess the only 'illness, injury.
                                                                                                                 disease or symptoms' to be 'prevented, evaluated.
       Medical necessity is a term common to health care coverage and insurance policies globally. A             diaposed, or treated' here would be those of
       common definition of medical necessity as used by insurers or insurance companies is: "Health             dysphoria (small 'd', as in discomfort and distress) the
       care services that a physician and/or health care professional, exercising prudent clinical judgment,     patient feels, and any consequent mental health issues
                                                                                                                 Do we need to spell this out?
       would provide to a patient for the purpose of preventing, evaluating, diagnosing or treating an
       illness, injury, disease or itSSYMptoms, and that are' (p) in accordance with generally accepted          Commented IA21; I think it is clear as a hell that
                                                                                                                 the SOC8 refers to the necessity of treatment (in its
       standards of medical practice; (b) clinically appropriate, in terms of type, frequency, extent, site      broadest sense) of TGD people who pursue treatment
       and duration. and considered effective for the patient's illness, injury, or disease, and (c) not         (in its broadest sense) for their gender dysphoria (small
                                                                                                                 "d": because it refers to the symptom of distress -
       primarily for the convenience of the patient, physician, or other health care provider, and not more      which is a very very broad category and one that any
       costly than an alternative service or sequence of services at least as likely to produce equivalent       'goodwilling' clinician can use for this purpose (or: in
       therapeutic or diagnostic results as to the diagnosis or treatment of that patient's illness, injury or   the unescapable medical lingo vie. as physicians arc
                                                                                                                 stuck with: those who fulfil a diagnosis of Gender
       disease." The treating health professional asserts and documents that a proposed treatment is             Dysphoria and Gender Incongruence as per
       medically necessary for treatment of the condition (American Medical Association, 2016).                  APA ANT 10).
                                                                                                                 Commented [A31: Do we need this in here?.
       Generally `accepted standards of medical practice' means standards that are based on credible             Monarchies are relatively uncommon globally.
                                                                                                                 Sounds very UK
       scientific evidence published in peer-reviewed medical literature generally recognized by the
       relevant medical community, designated Medical Specialty Societies and/or-fkre!,,1
                                                                                        4/4
                                                                                          , 1- 'Medical          Commented LA-11: There are mans many more
                                                                                                                 countries other than the UK who have bestowed the
       Colleges' recommendations, and the views of physicians and/or health care professionals                   Royal prefix on their medical (and many other
       practicing in relevant clinical areas.                                                                    Colleges) - but if you feel more comfortable without
                                                                                                                 it, 1 will scrap it. I am not bothered. i certainly do of
                                                                                                                 support the concept of a monarchy. or indeed any other
       Medical necessity is central to i,.aymeritt, subsidy, -anclAvr reimbursement for healthcare in parts of   form of non-democracy •)
       the world. The treating health care professional may assert and document that a given treatment is        Commented [A51: i wonder if 'subsidy' is the
       medically necessary for the prevention or 'treatment of,the condition'. If health i)olicies and           better word here (as in universal healthcare systems)
       pip:tees cplaas !challenge the medical necessity of a treatment., there may be an oppprtunity to          •.. _
                                                                                                                              1.461: Good point!
                                                                                                                    Commented____________..
       appeal to a governmental agency or other entity for an independent medical review.                           Commented IA71: Or 'prevention', depending on
                                                                                                                  what "the condition' is here. See my earliercomment.
                                                                                                                  Would the phrase `healthcare provision' be better? Just
       It should be recognized that gender diversity is common to all human beings and is not                     wondering.
       pathological. However, gender incongruence which causes clinically significant distress and
                                                                                                                 Commented IAN: Is this a reference to insurance
       impairment often requires medically necessary clinical interventions. In many countries,                  policies? Use,. the vast majority of trans people world
       medically necessary gender-affirming care is documented by the treating health professional as            wide have none. Should it rather be 'health policies
                                                                                                                 and practices' or some phrase such as that.
       treatment for Gender Incongruence (HA60 inICD-11; WHO, 2018) and/or as treatment for Gender
       Dysphoria (302 851764.0 in DSM-5; APA, 2013).                                                             Commented jA9J: Thanks= that is a helpful
                                                                                                                 broadening of what we are trying to say. I.e.,
                                                                                                                 encorripass'com as many TGD people globally as is
                                                                                                                 humanly possible.




CONFIDENTIAL - SUBJECT TO PROTECTIVE ORDER                                                                                       BOEAL_WPATH_062026
                                                                              36
           Case 2:22-cv-00184-LCB-CWB Document 560-31 Filed 05/27/24 Page 38 of 86




       There is strong evidence demonstrating the benefits in quality of life and wellbeing of sender           Commented 1A101: Thanks Illfor pointing out
       affirming treatments, including endocrine and surgical procedures, properly indicated and                the coding in the US!
       performed as outlined by the Standards of Care (Version 8), in TGD people in need of-wishing
       these treatments th- Ainswortli and Spiegel, 2010; Aires et al., 2020: Aldridge et al.. 2020;           ComMented `IAI 11 I suggest it is important to
       Ahnaisan-and-Ketweghlian-..-2024 Almazan & -and—Ketuouldian, 2021; Al-Tamimi et al., 2019;              employ 'e.g.' in oases such as these. to underline that
                                                                                                               the work cited is just a tiny selection of what is
       Baker et al., 2021; BalakrOln;ffi •T ;11       Buncamper et al.,2016:                                   available.
       Eftelchar Ardebili, 2020; Javier et al 2022: I,indovist et al., 2017. Mullins et al 2021; Nobili et
       al., 2018;-Qwen-4Fnith-et-al-20-14C                                                  T'Sjoen et al.     We might also want to separate the primar!, studies
                                                                                                               from the reviews in this list (and also in the long list in
       2019; van de (irift et al., 2018; White I lughto & Reisner, 2016; Wierckx et al., 2014; Yang et al.,    the next paragraph).
                                                                                                                                           .„
       2016). Gender affirming interventions may also include legal name and sex or gender change on           Commented [Al2]: Yes, good point
       identity documents, as well as hair removal procedures, voice therapy, counselling, and other
       medical procedures required to effectively affimi an individual's gCiender identity and reduce
       gender incongruence and dysphoria.

       Gender affirming interventions are based on decades of clinical experience and research, and
                                                                                                              (Commented 1A131: ditto
       therefore they are not considered experimental. They are safe, and effective at reducing gender
                                                                                                               Commented fA1-11: All Well and good, but tor the
       incongruence and gender dysphoria (kgt„,, Aires et al., 2020; Aldridge et al.. 2020; Al-Tamimi et       vast majority of trans people worldwide. affiirdability
       al., 2019; Baker et al., 2021; Balakrishnan et al.. 2020: Bertrand et al., 2017;--BAInstr4nn-&          would be achievable only through a system of
       PachankisF4-420i Buncamper et al., 2016; Claes et al., 2018; Etlekhar Ardebili, 2020; Esmonde           universal healthcare.
       et al., 2019; Javier et al., 2022; Lindqvist et al., 2017; Lo Russo et al., 2017; Marinkovic &          Back in March 1suggested that we paid a fair bit of
       Newfield, 2017; Mullins et al., 2021; Nobili et al., 2018; Olson-Kennedy -et al., 2018; 0zkan et        attention to the universal healthcare issue (I will attach
                                                                                                               the document again). Biut it turns out there is no no
       al.. 2018: Poudrier et al., 2019; T'Sjoen et al. 2019; van de Grift et al., 2018; White Hughto &        mention of universal healthcare at all in this text.
       Reisner, 2016; Wierckx et al., 2014; Wolter et al., 2015; Wolter et al., 2018).
                                                                                                               The sentence already here in the text expresses what
                                                                                                               we feel should be the case. i would ask that we at least
       Consequently, W PAM urges health care systems to provide these medically necessary treatments           insert a sentence or so here in the text to underline the
       and eliminate any exclusions from their policy documents and medical guidelines which preclude          importance of gender affirming healthcare within
       coverage for any medically necessary procedures or treatments for the health and well-being of          universal healthcare systems. where they exist. Along
                                                                                                               the lines of the document I sent on 22'd March 1
       TGD individuals. In other words. Governments should ensure that healthutre seryices for                 suggest: 'Governments should ensure that healthcare
       transgender and gender diverse people are established, extended or enhanced (as appropriate) as         services for transgender and gender diverse people are
                                                                                                               established, extended or enhanced (as appropriate) as
       elements in any Universal Health Care system that may exist. 'Health care systems should ensure         elements in an) Universal Health Care system that
       that ongoing healthcare, both routine and specialized, is readily accessible and affordable to all      may exist-..'
       citizens on an equitable 'basis.
                                                                                                               There are other ways of saying the same thing of
                                                                                                               course. Here is a softer alternative: 'Where there is a
       Medically necessary gender affirming interventions are discussed in SOC-8. These include, but           system of universal healthcare, governments should
       are not limited to: hysterectomy +1- bilateral salpingo-oophorectomy; bilateral mastectomy, chest       take steps to ensure that medically necessary gender
                                                                                                               affirming healthcare should be made available within
       reconstruction or feminizing nuumnoplasty, nipple resizing or placement of breast prostheses;           that system*1
       genital reconstruction, for example, phalloplasty and metoidioplasty, scrotoplasty, and penile and
                                                                                                                At any rate, let's in some way express — even briefly —
       testicular prostheses, penectomy, orchiectomy, vaginoplasty, and vulvoplasty; skin flap hair,            that there should be a place for gender affirming
       genital and facial hair removal; gender affirming facial surgery and body contouring; voice therapy    • healthcare in universal healthcare systems.
                                                                                                                      merited [AN: See what you make of this
                                                                                                                       xi free to edit further.




CONFIDENTIAL — SUBJECT TO PROTECTIVE ORDER                                                                                     BOEAL_WPATH_062027
                                                                            37
           Case 2:22-cv-00184-LCB-CWB Document 560-31 Filed 05/27/24 Page 39 of 86




       and/or surgery; as well as puberty blocking medication and gender affirming hormones, counseling
       or psychotherapeutic treatment, as appropriate to the patient.


       Referenr.e.il                                                                                        Commented IA161: I went through all of these
       Ainsworth. T.AL, & Spiegel. J.H. (2010). Duality of life of individuals with and without facial      studies. They are overwhelmingly North American and
       feminization surgery or gender reassignment surgery. Ouctily.90,4frfigrc*,7 ?.9),P.                  Ruropean. Thai. is also true of the studies covered by
                                                                                                            the various reviews in the list. Clearly most of the
       Fwep,19(7),;: .10.19-1024, doi: 10; I 007/s I 1 .?67.010-9668-7                                      research on outcomes is from the Global North. But
                                                                                                            let's be sure this section is assertively global in
              M. M;, de. Yas:cotwelos,1)., 4 Moraes, )1. J. i). (2p;(3), Chondrigam&oslasty. in             perspective, as indeed the rest of the Global chapter
       transgender women: Prospective analysis of voice and aesthetic satisfaction. International           seeks to be. So let's cite explicitly two primary studies
                                                                                                            from Brazil and China.
       Journal of Transgender Health. 22t 4). 394-402.
       hops:// doi.org/ 10.1080/26895269.2020.1848690                                                       ¶
                                                                                                            da Silva DC, Schwarz K, Fontanari AM, Costa AB,1
                                                                                                            Mast‘uda R, Hemlives AA, et al. WHOQOL-100 before and
                                                                                                            after sex reassignment surgery• in Brazilian male-to-female
       Aldridge, Z., Patel, S.,Guo, B., Nixon, E., Bouman, W.P., Witcomb, G.L., & Arcelus, J. (2020).       transsexual individuals. J Sex Med. 20I 6,I 3(6)988-93.1
       The effect of 18 months of gender affirming hormone treatment on depression and anxiety
                                                                                                            Yang X, Zhao L, Wang L, Hao C, Gu Y, Song W, ct al. Quality
       symptoms in transgender people: A prospective study. Andrology, 9(6), 1808-1816.                     of life of irartsgender women from China and associated factors.
                                                                                                            a cross-sectional study. J Sex Med. 2016;13(6)977-87.¶
                                                                                                            ¶
       Ahnazan, A. N., A, Keuroghlian, A. S. (2021). Association Between Gender-Affirming Surgeries         inclusion of Global South studies such as these
       and Mental Health Outcomes. JAVA surgery, 156(7), 611-618.                                           communicates important messages.
       https://doi.org/10.1001/jamasurg.2021.0952.                                                          ¶
                                                                                                            I3TW, these two studies are actually both in the tranche
                                                                                                            of studies reviewed in Nobili, cited below (though
       Al-Tamimi, M., Pigot, G.L., van der Sluis, W.B., van de Grift, T.C., van Moorselaar, R.J.A.,         Nobili calls 'da Silva' Cardoso da Silva' - i have seen
       Mullender, M.G., Weigert, R., Buncamper, M.E., Ozer, M., de Haseth, K.B., Djordjevic, M.L.,          this author cited in both ways). ¶
       Salgado, C.J., Belanger, M., Suominen, S., Kolehmainen, M., Santucci, R.A., Crane, C.N., Claes,      I wonder if there are any other Global South studies in
       K. E.Y., Bouman, M-B. (2019). The Surgical Techniques and Outcomes of Secondary Phalloplasty         the Javier review below (I can't access that review, and
       After Metoidioplasty in Transgender Men: An International, Multi-Center Case Series. The             so am not able to say whether there are any Global
                                                                                                            South studies covered therein).
       Journal ofSexual Medicine, 16(11), 1849-1859.

       American Medical Association (2016). Definitions of "Screening" and !Medical Necessity" H-             Commented IA171: Thanksallfor continuing
       320.953 Council on Medical Service. Retrieved from https://policysearch.ama-                           to point out that we are striving to he a global
                                                                                                              association and hence we should do anything we can
       assn.orepolicyfmdcr/dctail/H-320.953                                                                   do include everyone. I sent with a fine toothcomb
                                                                                                              through the Javier et al. systematic review articles and
       American Psychiatric Association. (1987). Diagnostic and statistical manual ofmental               s.„ I have further included (in addition to your 2 very
                                                                                                              helpful international global south references)
       disorders (DSM-III-R). American Psychiatric Association.                                               references from India, Iran, Brazil and Turkey. I hope
                                                                                                              you approve!
                                                                                                                                            --.-.---..---
       American Psychiatric Association. (1994). Diagnostic and statistical manual ofmental                1Forroatted: No bullets or numbering
       disorders (DSM-IV). American Psychiatric Association..                                              r Formatted: Font: Italic, Complex Script
                                                                                                             Font: Italic
       American Psychiatric Association. (2000). Diagnostic and statistical manual ofmental                  Formatted: Font: Italic, Complex Script
       disorders (DSM-IV-TR). American Psychiatric Association..                                           ' Font: Italic




CONFIDENTIAL — SUBJECT TO PROTECTIVE ORDER                                                                                    BOEAL_WPATH_062028
                                                                           38
           Case 2:22-cv-00184-LCB-CWB Document 560-31 Filed 05/27/24 Page 40 of 86




       American Psychiatric Association. (2013). Diagnostic and statistical manual of mental disorders
       (DSM-5). American Psychiatric Association.

       Baker, K.E., Wilson, L.M., Sharma, R., Dukhanin, V., McArthur, K., Robinson, K.A. (2021).
       Honnone Therapy, Mental Health, and Quality of Life Among Transgender People: A Systematic
       Review. Journal of the Endocrine Society, 5( 4), bvab01 1, https://doi.org/10.1210/jendso/bvab011

       BalakTishnan, T. M., Nagaratan S. . & Jaganmohan, J. (2020). Retrospective study of prosthetic
       augmentation mammo- plastv in transwomen. Indian Journal of Plastic Surgery: Official
       Publication of the Association of Plastic Surgeons of India, 53(1), 42—050. https://doi.
       org/10. I 055/s-0040-1709427


       Buncamper, M. E., M.D., van der Sluis, W.B., van der Pas, R.S., Ozer, M., Smit, J. M., Witte, B.
       L, Bouman, M-B., & Mullender, M. (2016). Surgical Outcome after Penile Inversion
       Vaginoplasty: A Retrospective Study of 475 Transgender Women. Plastic and Reconstructive
       Surgery, 138(5), 999-1007. doi: 10.1097/PRS.0000000000002684

       Cardoso da Silva, D.C., Schwarz, K., Fontanari, A.M., Costa, A.B., Massuda, R., Henriques, A.A.
       Salvador, J., Silveira, E., Rosito. T.E.. & Rodrigues I,obato. M.I. (2016). WHOOOL-100 before
       and after sex reassigiunent surgery in Brazilian inale-to-female transsexual individuals. Journal of
       Sexuel Medicine, 13(6), 988-993. doi: 10.10 16/j.isxm.2016.03.370

       Eftekhar Ardebili, M., Janani, L., Khazaei, Z.. Moradi, Y., & .Baradaran. H.R. (2020). Quality of
       life in people with transsexual i ty after surgery: a systematic review and meta-analysis. Health and
       Quality ofLile Outcomes, 18. 264. https://doi.org/10.1 I 86/s12955-020-01510-0                          Formatted: Font: Not Bold, Complex Script
                                                                                                               Font: Not Bold


       Javier, C., Crimston, C.R., & Barlow. F.K. (2022). Surgical satisfaction and quality of life
       outcomes reported by transgender men and women at least one year post gender-affirming surgery:
       A systematic literatme review. International Journal of Transgender Health, doi:
       10.1080/26895269,2022.2038334                                                                           Commented 1A181: 1 can't access this one. It is a
                                                                                                               review involving around 70 studies. I know not where
                                                                                                               from. But 1suggest that, if there are any outside North
       Lindqvist, E.K., Sigwjonsson, H., M011ennark, C., Tinder, J., Famebo, F., & Kalle Lundgren, T.          America and Europe, then they should be cited
       (2017). Quality of life improves early after gender reassigninent surgery in transgenda                 specifically. as we do quite a few other primary
       women. European Journal of Plastic Surgery, 40,223-226. https://doi.org/10.1007/s00238-016-             research studies.

       1252-0




CONFIDENTIAL - SUBJECT TO PROTECTIVE ORDER                                                                                    BOEAL_WPATH_062029
                                                                             39
           Case 2:22-cv-00184-LCB-CWB Document 560-31 Filed 05/27/24 Page 41 of 86




       Mullins, E.S., Geer. R., Metcalf, M., Piccola, J., Lane, A., Conard, L.A.E., Kowalcyk Mullins,
       T.L. (2021). Thrombosis Risk in Transgender Adolescents receiving gender-Affirming Hormone
       Therapy. Paediatrics, 147(4): e2020023549.
       hfips://doi.org/10.1542/peds.2020-023549

       Nobili, A., Glazebrook, C. & Arcelus, J. (2018). Quality of life of treatment-seeking transgender
       adults: A systematic review and meta-analysis. Reviews in Endocrine and Metabolic
       Disorders, 19, 199-220. https://doi.org/10.1007/s11154-018-9459-y

       Olson-Kennedy, J., Warns J. Okonta V. Belzer NI.. Clark 1..F. -et al., (2018)., Cie
       reconstruction and cGhcst d1)vsphoria in tTransmasculine mMinors and vV-oune &Mutt'
       JAM4 Pediatrics, 172(5), 4"./ .6. L.       fjamapediatrics.2017.5440                                Formatted: Font: Italic, Complex Script
                                                                                                           I am: Italic
       Owen-Smith, A. A., Gerth, J., Sineath, R. C., Barzilay, J., Becerra-Culqui, T. A., Getahun, D.,
       Giammattei, S., Hunkeler, E., Lash, T. L., Millman, A., Nash, R., Quinn, V. P., Robinson, B.,
       Roblin, D., Sanchez, T., Silverberg, M. J., Tangpricha, V., Valentine, C., Winter, S., Woodyatt,
       C., . . . Goodman, M. (2018). Association Between Gender Confirmation Treatments and
       Perceived Gender Congruence, Body Image Satisfaction, and Mental Health in a Cohort of
       Transgender Individuals. The ,journal of Ssexual Iftnedicine, /5(4), 591-600, available at
       https://doi.org/10.1016/j.jsxm.2018.01.017.

       Ozkan, O., Ozkan, O., Cinpolat, A., Dugan, N. U., Bektas, G., Dolay, K., Giirkan, A., Aria, C..
       & Dogan, S. i2018). Vaginal reconstruction with the modified rectosigmoid colon: Surgical
       technique, long-term results and sexual outcomes. Journal ofPlastic Surgery and Hand Surgen
       52(4), 210-216. https://doi.org/10.1080/200065 1248 6X.2018.1444616


       Statistics  Canada     (2022).     Census     of Population     Canada.          Retried     from
       https://www150.statcan.gc.ca/nl/daily-quotidien/220427/dq220427b-eng.htm

       T'Sjoen, G., Arcelus, G., Gooren, L., Klink, D.T., & Tangpricha, V. (2019). Endocrinology of
       Transgender Medicine, Endocrine Reviews, 40(1), 97-117.
       https://doi.org/10.1210/er.2018-00011

       van de Grift, T.C., Elaut, E.,Cerwenka, S.C., Cohen-Kettenis, P.T., & Kreukels,
       B.P.C. (2018). Surgical Satisfaction, Quality of Life, and Their Association After Gender-
       Affirming Surgery: A Follow-up Study. Journal of Sex & Marital Therapy, 44(2), 138-
       148. DOI: 10.1080/0092623X.2017.1326190

       White Hughto, J.M. & Reisner, S.L. (2016). A Systematic Review of the Effects of Hormone
       Therapy on Psychological Functioning and Quality of Life in Transgender Individuals.
       Transgender Health, 1(1), 21-31. https://doi.org/10.1089/trgh.2015.0008




CONFIDENTIAL — SUBJECT TO PROTECTIVE ORDER                                                                             BOEAL_WPATH_062030
                                                                           40
           Case 2:22-cv-00184-LCB-CWB Document 560-31 Filed 05/27/24 Page 42 of 86




       Wierckx, K., Van Caenegem, E., Schreiner, T., Haraldsen, I., Fisher, A., Toye, K., Kaufman, J.M.,
       & TSjoen G. (2014). Cross-Sex Hormone Therapy in Trans Persons Is Safe and Effective at
       Short-Time Follow-Up: Results from the European Network for the Investigation of Gender
       Incongruence.       The    Journal  of Sexual         Medicine,        11     (8),    1999-2011.
       https://doi.org/10.1111/jsm.12571.

       World Health Organization (1992). InternationalStatistical Classification ofDiseases and Related
       Health Problems, 10th Revision. World Health Organization.I                                             Commented '11A191: this is easily accessible on
                                                                                                               the web, for free. without a paywall. We should in all
                                                                                                               such cases (and there may he others on this list)
       World lkalth Organization (2019). International Statistical Classification ofDiseases and Related       provide the relevant URI,.
       health Problems, 11's revision. World Health Organization]
                                                                                                              !Commented IA201: Ditto

       Yang, X., Zhao, L., Wang,. L. Hao, C.., Gu, Y., Song, W., Zhao, O., & Wang, X. (2016). Oualitv
       of life of transgender women from China and associated factors: A cross-sectional study. Journal
       ofSexual Medicine, 1.3(6), 977-987. doi: 10.1016/i.jsxm.2016.03.369                                       ...::1.'ionnUtt;:1;FOUt: Italic, Complex Script
                                                                                                           ......:,. .. Font. Italic




CONFIDENTIAL — SUBJECT TO PROTECTIVE ORDER                                                                                     BOEAL_WPATH_062031
                                                                          41
Case 2:22-cv-00184-LCB-CWB Document 560-31 Filed 05/27/24 Page 43 of 86




                                  42
Case 2:22-cv-00184-LCB-CWB Document 560-31 Filed 05/27/24 Page 44 of 86




                                  43
Case 2:22-cv-00184-LCB-CWB Document 560-31 Filed 05/27/24 Page 45 of 86




                                  44
Case 2:22-cv-00184-LCB-CWB Document 560-31 Filed 05/27/24 Page 46 of 86




                                  45
Case 2:22-cv-00184-LCB-CWB Document 560-31 Filed 05/27/24 Page 47 of 86




                                  46
Case 2:22-cv-00184-LCB-CWB Document 560-31 Filed 05/27/24 Page 48 of 86




                                  47
Case 2:22-cv-00184-LCB-CWB Document 560-31 Filed 05/27/24 Page 49 of 86




                                  48
Case 2:22-cv-00184-LCB-CWB Document 560-31 Filed 05/27/24 Page 50 of 86




                                  49
Case 2:22-cv-00184-LCB-CWB Document 560-31 Filed 05/27/24 Page 51 of 86




                                  50
Case 2:22-cv-00184-LCB-CWB Document 560-31 Filed 05/27/24 Page 52 of 86




                                  51
Case 2:22-cv-00184-LCB-CWB Document 560-31 Filed 05/27/24 Page 53 of 86




                                  52
Case 2:22-cv-00184-LCB-CWB Document 560-31 Filed 05/27/24 Page 54 of 86




                                  53
Case 2:22-cv-00184-LCB-CWB Document 560-31 Filed 05/27/24 Page 55 of 86




                                  54
Case 2:22-cv-00184-LCB-CWB Document 560-31 Filed 05/27/24 Page 56 of 86




                                  55
Case 2:22-cv-00184-LCB-CWB Document 560-31 Filed 05/27/24 Page 57 of 86




                                  56
Case 2:22-cv-00184-LCB-CWB Document 560-31 Filed 05/27/24 Page 58 of 86




                                  57
Case 2:22-cv-00184-LCB-CWB Document 560-31 Filed 05/27/24 Page 59 of 86




                                  58
Case 2:22-cv-00184-LCB-CWB Document 560-31 Filed 05/27/24 Page 60 of 86




                                  59
Case 2:22-cv-00184-LCB-CWB Document 560-31 Filed 05/27/24 Page 61 of 86




                                  60
Case 2:22-cv-00184-LCB-CWB Document 560-31 Filed 05/27/24 Page 62 of 86




                                  61
Case 2:22-cv-00184-LCB-CWB Document 560-31 Filed 05/27/24 Page 63 of 86




                                  62
Case 2:22-cv-00184-LCB-CWB Document 560-31 Filed 05/27/24 Page 64 of 86




                                  63
Case 2:22-cv-00184-LCB-CWB Document 560-31 Filed 05/27/24 Page 65 of 86




                                  64
Case 2:22-cv-00184-LCB-CWB Document 560-31 Filed 05/27/24 Page 66 of 86




                                  65
Case 2:22-cv-00184-LCB-CWB Document 560-31 Filed 05/27/24 Page 67 of 86




                                  66
Case 2:22-cv-00184-LCB-CWB Document 560-31 Filed 05/27/24 Page 68 of 86




                                  67
Case 2:22-cv-00184-LCB-CWB Document 560-31 Filed 05/27/24 Page 69 of 86




                                  68
Case 2:22-cv-00184-LCB-CWB Document 560-31 Filed 05/27/24 Page 70 of 86




                                  69
Case 2:22-cv-00184-LCB-CWB Document 560-31 Filed 05/27/24 Page 71 of 86




                                  70
Case 2:22-cv-00184-LCB-CWB Document 560-31 Filed 05/27/24 Page 72 of 86




                                  71
Case 2:22-cv-00184-LCB-CWB Document 560-31 Filed 05/27/24 Page 73 of 86




                                  72
Case 2:22-cv-00184-LCB-CWB Document 560-31 Filed 05/27/24 Page 74 of 86




                                  73
Case 2:22-cv-00184-LCB-CWB Document 560-31 Filed 05/27/24 Page 75 of 86




                                  74
Case 2:22-cv-00184-LCB-CWB Document 560-31 Filed 05/27/24 Page 76 of 86




                                  75
Case 2:22-cv-00184-LCB-CWB Document 560-31 Filed 05/27/24 Page 77 of 86




                                  76
Case 2:22-cv-00184-LCB-CWB Document 560-31 Filed 05/27/24 Page 78 of 86




                                  77
Case 2:22-cv-00184-LCB-CWB Document 560-31 Filed 05/27/24 Page 79 of 86




                                  78
Case 2:22-cv-00184-LCB-CWB Document 560-31 Filed 05/27/24 Page 80 of 86




                                  79
Case 2:22-cv-00184-LCB-CWB Document 560-31 Filed 05/27/24 Page 81 of 86




                                  80
Case 2:22-cv-00184-LCB-CWB Document 560-31 Filed 05/27/24 Page 82 of 86




                                  81
Case 2:22-cv-00184-LCB-CWB Document 560-31 Filed 05/27/24 Page 83 of 86




                                  82
Case 2:22-cv-00184-LCB-CWB Document 560-31 Filed 05/27/24 Page 84 of 86




                                  83
Case 2:22-cv-00184-LCB-CWB Document 560-31 Filed 05/27/24 Page 85 of 86




                                  84
Case 2:22-cv-00184-LCB-CWB Document 560-31 Filed 05/27/24 Page 86 of 86




                                  85
